Case 3:;21-md-02981-JD Document 423 Filed 01/19/23, Page? of 1

Table of Contents
Binder Bates Number / Description
Number
DXCH Exhibits

A.
DXCH-1 Google Chat Retention Policy ¥ _

DXCH-2 Google Chat Retention FAQs ~~

DXCH-8 GOOG-PLAY-003683919

DXCH-96 GOOG-PLAY-001161126 L

DXCH-104 Generic sample of 1:1 chat ”

DXCH-105 Generic sample of group chat /

DXCH-106 Generic sample of Threaded Room V_

DXCH-107 Screenshot showing ease of using "history on" button ~~ :

DXCH-108 Screenshot showing ease of using "forward to email" button ,/

PX Exhibits

PX-67 GOOG-PLAY-009911168 fa

PX-92 GOOG-PLAY-009992736 V

PX-163 Declaration of Andrew Rope, dated November 3, 2022, In re Google Play Store
Antitrust Litigation, Dkt. No. 299-3, Case No. 3:21-md-02981 (N.D. Cal.)

